 

 

 

can 20 APPotNTMENT oF two Au'rno v 0P
_.._. . .-` RIT TM ‘§Yr$OU§?lAY-EOANH§_?H ELD:mn 1 nf 7 PH(]€|D 60
1.clR.mlsT./r)t@’c'ifi€ 2 VYFQ{SMN§MM' Uu"u"'¢'“ 'V ' ""u vw ' voUCHERN`ilMoER t
TNW Houston,Jet`fery M‘~' f
3. MAG. DKTJDEF. NUMBER

 

4.DlsT.oKT./1)EF.NUMBER
2:99-020008-001

5. APPEALS DKT.!DEF. NUMBER

6. OTHER DKT. NUMBER

525

 

U.S. v. Houston

7. lN CASE)W[ATTER OF

(Cose Narne)

Felony

 

8. PAYMENT (.`ATEGORY

9. TYPE PERSON REPRESENTED
(See lustr_uctinns)

 

 

1|]. REP RESENTATION TYPE

/ll
"U

 

 

Telephoue Numher:

(901) 522-8832

 

 

l:i Beeluse the above-named person represented has testified under oath or has

 

(Z) does not wish to waive enunae|. and becs

 

14. NAME AND MA.ILlNG ADDRESS ()F LAW FIRM {uniy provide per instructions}

 
 

   

CATEGOR|ES (Attuch itemization of services with dates)

   
 

   

otherwise satisfied this court that he or she (l) is financially unable to employ counsel end
e in erests oi'justice so require, the
- d to represent this person in this tase.

 

i:i Othe See
Slgnattt ofPrestdiog .lutln:la cer or By Order of the Court
06/71 /900€
Date ofOrder

Nunc Pro Tuoe Date

 

time of appointment l:l YES

. a\. s

MATH:'I'E
ADJ S

      

TO'I`AL
AMOUNT
CLAIMED

HOURS
CLAIMED

     

HOU

    

 

a. Arraignment andfor Plea

  

 

b. Ball and Detention Hearings

Repaymem or partial repayment ordered from the person represented for this service st
NO

  
 
 

cH M.\Turrecn
U 'rED ADJUSTED '*DD'TIONAL
ns AMouNT REV'EW

   
 

 

 

 

c. Motion Hearings

 

 

d. Trlal

 

 

e. Sentencing Heorlngs

 

 

f. Revocution Hearlngs

 

 

.-.»-,:¢n :-

g. Appeals Court

 

 

h. Other (Specify on additional sheets)

 

 

(Rate per hour - S )

TOTALS:

  

 

F"

a. interviews and Conferences

 

 

_;O

b. Obtaining and reviewing records

 

 

c. Lega| research and brief writing

 

 

d. Travel time

 

 

e. lttvestigatlve and Other work

(Spec|t'y un additional sheets)

 

 

-t't=o[`j -so

(Rate per hour = $ )

TOTALS:

     

 

 

Trave| Expenses

(lodging, parking meala, mileage, ete.)

 

 

 

  

 

Other Expenses
~,, o » .

FROM

 

 

(other than expert transcripta, etc.)

'TO

 
  
  

 

 

 

 

 

 

20. APPOINTMENT TERM|NATION DATE
IF OTHER THAN CASE CDMPLEE`|ON

 

21. CASE DlSPO SlTlON

 

ZZ. CLAIM STATUS

representation?

Sigoature ofAttorne ~

    

23. lN COURT COMP.

Have you previously applied to the
Other than l'rom the euurt, have yo

l:l YES

i:| Final Paymettt

NO

   

24. OUT OF COURT COMP.

ij lnterim Payzneot Nttmbes

court fca' compensation andt'or romimbursement l'or this ease'!

u, or toyour knowledge has anyone else. received plymenl [compensation or anything nr valoe)
li’yet. give details on additional sheeu.

l swear orafftrm the truth or correctness of the above statements.

i:] Su|Elemeotsl hyment
l:i YES NO lives, were you paid'.’ i:l YES U NO
from any other source in connection with this

Dat

 

25. TRAVELEXPENSES 26. OTHEREXPENSES

27. TOTAL AMT. APPR!CERT

 

This
Wt`ih

ZB. SICNATURE OF THE PRESID!NG JU|JI(.`IAL OFFlCER

DATE

lilo. JUDGE."MAG. JUDGE CODE

 

29. lN COURT COMP.

30. OUT OF COURT COMP.

 

 

31. TRAVEL EXPENSES JZ. OTHER EXPENSES

3]. TOTAL AMT. APPROVED

 

 

34. SlGNATURE OF CHIEF JUDGE. COURT

docuii'ié"rii’S'Iii§e;’e"dl'Er‘i‘i'l"‘tgyctihcr;§i::t';°hweot in po

OF APP EALS (OR DELE ATE) Payment

DATE

 

 

34 a. JUDGE CODE

 

/

 

55 and/or 32(b) FRCrP on

W°J§

/

Adult Defendant Superv:sed leas__%;\~`_\- 8
ll. OFFENSE(S) CH ARGED (Cite U.S. Code, Tl'tle & Sect'itm) if more than one oiTense, list (up to iive] major ol`i'mses eharged, according to severity ofoifense. p£;:"*~:?, t : /9
l) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE 0 ('»{3‘;" L` ;-'\ fjj.~‘ air
e',¢-. .3_ u, 0 z jo
‘ 4 /S)~ 'i/c)
12. :H%RAN!I]I_,'YNSGNMP;.{E(SFSHQName,M.l.,LastName.lnc|udtng anysttfi`u) %OE;L:)“|:;)§“R"""| m C Cowcou”e| MEM'&}{§:`£
Pe['klns, Sa_mue,l l:l F SuhsFor Federai[iefender [] R SuhsFor Retaiaed Attorney 0
147 Jefferson! Ste 804 l:_\ P Subs For ii'anelAtl\n-neyl E Y Standhy Counsel
Memphis TN 38103 i'riorAltorney‘s Name:
-*,r ‘ Date:

    
   

ISTRIC COUR - W'"RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:99-CR-20008 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

